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                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

RALPH S. JANVEY, IN HIS CAPACITY              §
AS COURT-APPOINTED RECEIVER                   §
FOR THE STANFORD RECEIVERSHIP                 §
ESTATE, et al.,                               §
                                              §
       Plaintiffs,                            §
                                              §
v.                                            §           Civil Action No. 3:13-CV-0477-N
                                              §
PROSKAUER ROSE, LLP, et al.,                  §
                                              §
       Defendants.                            §

                                          ORDER

       This Order addresses Defendant Proskauer Rose, LLP’s (“Proskauer”) advisory to the

Court [310], which the Court construes as a motion to stay proceedings pending Proskauer’s

interlocutory appeal. Following a telephonic hearing with the parties on this same date and

pursuant to Rule 42 of the Federal Rules of Civil Procedure, the Court orders a separate trial

of the claims, if any, asserted by Plaintiff Official Stanford Investors Committee against

Proskauer and orders that those proceedings are stayed pending appeal. Further, because of

the reasons set forth in Plaintiff Ralph S. Janvey’s (the “Receiver”) response [331], the Court

certifies that Proskauer’s interlocutory appeal is frivolous and dilatory as to the claims

asserted by the Receiver. The Court accordingly denies Proskauer’s motion to stay this case

as to the Receiver.




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Signed April 23, 2018.



                                         _________________________________

                                                   David C. Godbey
                                              United States District Judge




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